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 7
 8                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF CALIFORNIA
 9
10 THE ESTATE OF PAUL SILVA by CASE NO.
   and through its successors-in-
                                    COMPLAINT '18CV2282 MMA KSC
11
   interest LESLIE ALLEN and
12 MANUEL SILVA, MANUEL
                                    (1) Arrest without Probable Cause (42
13 SILVA, and LESLIE ALLEN,              U.S.C. §1983)
14                                  (2)  Deliberate Indifference to Serious
                Plaintiffs,              Medical Needs (42 U.S.C. §1983)
15                                  (3) Excessive Force (42 U.S.C. §1983)
   v.                               (4) Wrongful Death (42 U.S.C.§1983)
16                                  (5) Right of Association (42 U.S.C.
                                         §1983)
17 CITY OF SAN DIEGO, SHELLEY (6) Failure to Properly Train (42
18 ZIMMERMAN in her individual           U.S.C. §1983)
   capacity, ANDREW MURROW in (7) Failure to Properly Supervise and
19 his individual capacity, COUNTY       Discipline (42 U.S.C.§1983)
                                    (8) Failure to Properly Investigate (42
20 OF SAN DIEGO, WILLIAM                 U.S.C. §1983)
   GORE in his individual capacity, (9) Monell (42 U.S.C. §1983)
21 ALFRED JOSHUA, an individual,    (10) Wrongful Death (CCP §377.60)
22 LIBERTY HEALTHCARE               (11) Negligence
   CORPORATION, a Pennsylvania      (12) Violation of Cal Civ Code §51
23                                       (Unruh Act)
   Corporation, COMMUNITY           (13) Violation of Cal Civ Code §52.1
24 RESEARCH FOUNDATION, a                (Bane Act)
                                    (14) Violation of 42 U.S.C. §12101 et seq.
25 California Corporation, and DOES      (ADA)
   1-100                            (15) Violation of 29 U.S.C. §794(a)
26
                                         (Rehabilitation Act)
27              Defendants.
28                                  JURY TRIAL DEMANDED
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 1         COME NOW, the ESTATE OF PAUL SILVA by and through its
 2   successors-in-interest LESLIE ALLEN and MANUEL SILVA, MANUEL
 3   SILVA, and LESLIE ALLEN, by their attorneys of record, and allege and
 4   complain as follows:
                                              I.
 5                                   INTRODUCTION
 6         At the time of his death, Paul Silva was 39 years old. He had suffered from
 7   schizophrenia his entire adult life. On the morning of February 20, 2018, Paul’s
 8   mother, Leslie Allen, called the San Diego Police Department’s PERT
 9   (Psychiatric Emergency Response Team) to request help for Paul. Ms. Allen
10   called the police to assist for a mental health emergency and to invoke Welfare
11   and Institutions Code section 5150. Ms. Allen advised the police of Paul’s
12   psychiatric condition. Defendant officer Andrew Murrow claimed that Paul must
13   have used narcotics, despite Ms. Allen’s statement that Paul did not use illicit
14   drugs. Defendant Murrow refused to follow policy and brought Paul to the
15   County Jail, rather than to a designated medical facility, as required under the
16   Lanterman-Petris-Short Act. Murrow arrested Paul for being under the influence
17   of a controlled substance despite repeated denials by Ms. Allen that Paul had not
18   taken any drugs.
19         During his intake at the Central Jail, Paul was described as being anxious
20   and hyper-verbal. The following day, on February 21, 2018, deputies saw Paul
21   acting erratically, running in his cell, throwing himself to the ground and yelling
22   incoherently.   He was seen staring out the window with mouth wide open,
23   holding his arms out pointing toward the window and walls, crawling and rolling
24   on the floor. Deputies pepper sprayed Paul. Deputies called for a Tactical Team
25   (TT) to remove Paul from his cell.       Paul remained non-verbal with bizarre
26   behavior for approximately 22 minutes while deputies observed Paul as they
27   waited for the Tactical Team to arrive. When the Tactical Team arrived, they
28   shot Paul with water balls. They repeatedly Tasered Paul. Paul was Tasered for

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 1   at least 22 seconds while six other members of the Tactical Team held him down
 2   with a body shield pressing down on his torso. At least six members were on or
 3   around his body with a shield placed on top of his torso, with two officers
 4   pushing down on the shield. One deputy instructed the other members to use
 5   “downward pressure with the shield, get your body weight on it.” These deputies
 6   heard Paul yell “no, don’t do it, sir.”        Paul’s voice then became faint and
 7   unintelligible. Paul became unresponsive. Paul was taken to UCSD Hospital
 8   unconscious.
 9          Medical examination would later show a collapsed lung. This was caused
10   by the Deputy Sheriffs’ excessive force. According to the Medical Examiner,
11   there were visible injuries of the head including blood on his forehead, eyebrows
12   and nose; laceration with abrasion on the right eyebrow; contusion to the right
13   eye; upper lip edema; puncture wounds to the torso (possibly from the Taser);
14   abrasions to the wrist, knuckles and forearm; puncture wound to the inner thigh,
15   and contusions to the left knee and left thigh.
16         Paul sustained serious and permanent brain damage, neurological injuries,
17   kidney failure and other life-threatening injuries. Paul was in a coma for several
18   weeks before he ultimately succumbed to his injuries. Paul’s lab results were
19   negative for any alcohol, amphetamines, opiates, methadone, barbiturates or
20   cocaine. The Medical Examiner determined that the cause of death was restraint,
21   which caused Paul’s heart to stop. The Medical Examiner determined that the
22   manner of death was homicide.
                                             II.
23                             GENERAL ALLEGATIONS
24         1.     Jurisdiction is proper in the United States District Court for the
25   Southern District of California pursuant to 28 U.S.C. §1331 and 28 U.S.C. §
26   1343(3) and (4), et. seq.
27
28

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 1         2.     Venue is proper in the Southern District of California because the
 2   acts or omissions which form the basis of the Plaintiffs’ claims occurred in San
 3   Diego, California, within the Southern District.
 4         3.     At all times relevant to this complaint, decedent Paul Silva was an
 5   individual residing in San Diego County, California.
 6         4.     Leslie Allen, Decedent’s mother, and Manuel Silva, Decedent’s
 7   father, are the successors-in-interest of the Estate of Paul Silva. This action on
 8   behalf of the Estate of Paul Silva is brought through Plaintiffs, the mother and
 9   father of Paul Silva, as the successors-in-interest.
10         5.     Leslie Allen and Manuel Silva have filed declarations with this Court
11   that no proceeding for the administration of the estate is pending and that they are
12   the successors in interest under California law and succeeds to the decedent’s
13   interest. There is no other person with a superior right to commence the action.
14         6.     Manuel Silva and Leslie Allen bring this action in their own right, as
15   well, for the loss of their son, Paul.
16         7.     Plaintiffs have properly complied with the Government Claim Act.
17   Plaintiffs’ claim was submitted to the California Government Claims Board on
18   April 3, 2018.
19         8.     The County of San Diego rejected Plaintiffs’ claim on May 31, 2018.
20   The City of San Diego rejected Plaintiffs’ claim on July 9, 2018.
21         9.     Defendant City of San Diego is a public entity, duly organized and
22   existing under the laws of the State of California. At all relevant times mentioned
23   herein, the City of San Diego was responsible for the actions and/or inaction, and
24   the policies, procedures and practices/customs of its employees and/or agents.
25         10.    Defendant Shelley Zimmerman was, at all relevant times, the Chief
26   of the City of San Diego Police Department and it policy maker.               Chief
27   Zimmerman was responsible for the hiring, screening, training, retention,
28

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 1   supervision, discipline, counseling, and control of all San Diego Police employees
 2   and/or agents, and Doe Defendants 1-50.
 3         11.     At all times relevant to this complaint, Defendant Andrew Murrow
 4   was a police officer employed by the City of San Diego and the San Diego Police
 5   Department.
 6         12.     Defendant County of San Diego is a public entity, duly organized
 7   and existing under the laws of the State of California. Under its authority,
 8   Defendant County of San Diego operates and manages the San Diego Central Jail,
 9   and is, and was at all relevant times mentioned herein, responsible for the actions
10   and/or inactions and the policies, procedures and practices/customs of the Central
11   Jail, and its respective employees and/or agents.
12         13.     Defendant William Gore was, at all relevant times, the Sheriff of the
13   County of San Diego, the highest position in the San Diego County Sheriff’s
14   Department. As Sheriff, Defendant Gore was responsible for the hiring,
15   screening, training, retention, supervision, discipline, counseling, and control of
16   all San Diego County Sheriff’s Department custodial employees and/or agents,
17   medical staff and Doe Defendants.
18         14.     At all times relevant to this complaint, Defendant William Gore was
19   a policy-maker for the San Diego Sheriff’s Department (hereinafter “Sheriff’s”)
20   and responsible for promulgation of the policies and procedures and allowance of
21   the practices/customs pursuant to which the acts of the Sheriff’s Department
22   alleged herein were committed, as well as the supervision and control of officers
23   who are or were employed by the Sheriff’s, who are under his command and/or
24   who report to him, including the Defendants to be named.
25         15.     Defendants Zimmerman and Gore are sued in their individual
26   capacity for their own personal action or inaction.
27         16.     At all times relevant to this complaint, Defendant Alfred Joshua was
28   the Medical Director for the Sheriff's Department. He supervised the medical

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 1   staff and directed and oversaw the development and implementation of quality
 2   assurance and utilization review policies and procedures. All medical and
 3   psychiatric doctors worked under the direction of Joshua.
 4          17.    At all times relevant to this complaint, all individual defendants and
 5   Does 51-90 were San Diego sheriff deputies or medical personnel and agents of
 6   Defendant County of San Diego.
 7          18.    San Diego Central Jail is owned and operated by County of San
 8   Diego and staffed by County of San Diego Sheriff’s deputies.
 9          19.    At all times relevant to this complaint, Defendant Liberty Healthcare
10   Corporation, a Pennsylvania Corporation, was a vendor of the County and
11   provided, under written contract, psychiatric services to inmates incarcerated in
12   County detention facilities.
13          20.    Community Research Foundation, a San Diego corporation, operates
14   PERT (Psychiatric Emergency Response Team).
15          21.    The City and County utilize and sanction PERT officers and
16   clinicians trained in responding to psychiatric emergencies as their agents acting
17   under their authority in responding to situations involving mental health issues.
18          22.    Plaintiffs are truly ignorant of the true names and capacities of Does
19   1 through 100, inclusive, and/or is truly ignorant of the facts giving rise to their
20   liability and will amend this complaint once their identities have been ascertained
21   as well as the facts giving rise to their liability.
22          23.    These defendants were agents, servants and employees of each other
23   of the other named defendants and were acting at all times within the full course
24   and scope of their agency and employment, with the full knowledge and consent,
25   either expressed or implied, of their principal and/or employer and each of the
26   other named defendants and each of the defendants had approved or ratified the
27   actions of the other defendants thereby making the currently named defendants
28

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 1   herein liable for the acts and/or omissions of their agents, servants and/or
 2   employees.
 3
                                             III.
 4                                         FACTS
 5           24.   Plaintiffs reallege all prior paragraphs of this complaint and
 6   incorporate the same herein.
 7           25.   At the time of his death, Paul Silva was 39 years old.
 8           26.   Paul had suffered from schizophrenia his entire adult life.
 9           27.   Paul lived with his father, Manuel Silva. Each morning, Paul would
10   go to his mother Leslie Allen’s home to have breakfast and visit with her.
11           28.   On February 19, 2018, Paul was acting out and refusing to come
12   home.
13           29.   Paul’s mother, Leslie Allen, called the San Diego Police
14   Department’s PERT (Psychiatric Emergency Response Team) to request help for
15   Paul. Ms. Allen called the police to assist for a mental health emergency (also
16   known as a Welfare and Institutes Code section 5150 psychiatric hold).
17           30.   PERT is administered by Community Research Foundation, a San
18   Diego corporation.
19           31.   Because it was President’s Day, PERT was not available to assist.
20           32.   PERT provides emergency assessment and referral for individuals
21   with mental illness. PERT pairs licensed mental health clinicians with uniformed
22   law enforcement officers/deputies. Clinicians work out of individual law
23   enforcement divisions and respond in the field with their law enforcement
24   partners. The PERT team evaluates the situation, assesses the individual’s mental
25   health condition and needs, and, if appropriate, transports individuals to a hospital
26   or other treatment center, or refers him/her to a community-based resource or
27   treatment facility.
28

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 1         33.     Ms. Allen had called PERT on previous occasions to assist Paul in
 2   calming down. On each of the previous occasions, a PERT officer would speak
 3   to Paul calmly, and Paul would comply with all of their requests.
 4         34.     Because PERT members are trained in dealing with mental illness,
 5   Ms. Allen decided to wait until they became available the following day.
 6         35.     After Ms. Allen called for the PERT team on February 20, 2018, the
 7   PERT unit arrived along with a patrol unit.         Ms. Allen advised the PERT
 8   members of Paul’s psychiatric condition.
 9         36.     The advantage of the PERT team is that while in route to the scene
10   of the call, a clinician can look up any information in the County’s electronic
11   health record about the person’s previous contact in the mental health system,
12   including diagnosis, medications, current providers, case managers, and
13   information regarding family members. The clinician, as a part of PERT, can
14   start to contact those people to get information, which gives the clinician a head
15   start before arriving at the scene.
16         37.     Because Ms. Allen had previously contacted PERT, its team
17   members had full access to Paul Silva’s prior history of acting out when off his
18   medication.
19         38.     Despite the fact that members of the PERT team were present and
20   dealing with Paul, Defendant Andrew Murrow interfered with their appropriate
21   treatment of Paul Silva.
22         39.     Defendant Murrow decided that Paul must have used narcotics
23   despite Ms. Allen’s statement that Paul did not use illicit drugs.
24         40.     Defendant Murrow was aware that PERT team had successfully
25   dealt with Paul before for his mental illness.
26         41.     Defendant Murrow refused to follow policy and brought Paul to the
27   County Jail, rather than a designated medical facility, as required under the
28   Lanterman-Petris-Short Act.

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 1            42.   Defendant Murrow arrested and booked Paul for being under the
 2   influence of a controlled substance despite repeated denials by Ms. Allen that
 3   Paul had taken any drugs.
 4            43.   There was no probable cause to believe that Paul had committed a
 5   crime.
 6            44.   Paul was symptomatic of being schizophrenic. Ignoring all evidence
 7   of the need to treat Paul’s mental condition, Defendant Murrow placed Paul under
 8   arrest for a crime Paul did not commit
 9            45.   The SDPD call logs indicated that PERT was called for a “5150
10   hold,” which allows County Mental Health to hold a person for up to 72 hours for
11   mental health concerns under California Penal Code 5150.
12            46.   Members of PERT, despite the information in the County system
13   regarding Paul’s previous hospitalization and 5150 holds, did nothing to
14   intervene.
15            47.   Members of PERT did nothing to take Paul to a hospital or a mental
16   health treatment facility.
17            48.   The “vision” of PERT is that “Persons living with mental illness will
18   have access to and be referred to programs at the appropriate level of service and
19   no person will be hospitalized or incarcerated unnecessarily.” Its “Mission” is to
20   “contribute to the well-being of individuals with mental illness by actively and
21   compassionately assisting individuals in crisis who come to the attention of law
22   enforcement to access appropriate services and to optimize outcomes through on-
23   scene assessments and referrals.” PERT’s core values are:
24                  A belief that persons with mental illness must be
25                  compassionately assessed regarding their unique needs
26                  and be referred to assistance that is appropriate to those
                    needs.
27
28                  A belief that law enforcement and mental health workers
                    have a duty and responsibility to collaboratively work
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 1                   together with persons living with mental illness, their
                     family and support persons, and the community as a
 2                   whole to ensure that people receive the level of service
 3                   they require.
 4                   A belief that on-scene partnership of mental health and
 5                   law enforcement contributes to the well-being of persons
 6                   living with mental illness and to the well-being and
                     protection of the community.
 7
 8                   A belief that outreach efforts to marginalized groups in
                     the community assist persons to meet identified needs
 9                   and assist communities to recognize and address larger
10                   issues related to community health and safety.
11
           49.       The members of the PERT team adhered to none of the vision,
12
     mission, or core values of PERT in the case of Paul Silva.
13
           50.       During his intake at the Central Jail, Paul was described as anxious
14
     and hyper-verbal.
15
           51.       The intake staff at the Central Jail knew that Paul suffered from
16
     schizophrenia.
17
           52.       The following day, on February 21, 2018, deputies saw Paul acting
18
     erratically, running in his cell, throwing himself to the ground and yelling
19
     incoherently.     He was seen staring out the window with mouth wide open,
20
     holding his arms out pointing toward the window and walls, crawling and rolling
21
     on the floor.
22
           53.       Deputies realized that Paul needed medical attention. But they failed
23
     to call for psychiatric nursing staff or anyone from the Medical Unit.
24
           54.       Deputies pepper sprayed Paul.
25
           55.       Deputies called for Tactical Team (TT) to remove Paul from his cell.
26
           56.       Paul   remained   non-verbal,   exhibiting   bizarre   behavior   for
27
     approximately 22 minutes while deputies observed Paul as they waited for the
28
     Tactical team to arrive.

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 1         57.    When the Tactical Team arrived, they shot him with water balls.
 2         58.    They repeatedly Tasered Paul.
 3         59.    Paul was Tasered for at least 22 seconds while six other members of
 4   the Tactical Team held him down with a body shield over his torso.
 5         60.    At least six members were on or around his body with a shield
 6   placed on top of his torso with two officers pushing down on the shield. One
 7   deputy instructed the other members to use “downward pressure with the shield,
 8   get your body weight on it.”
 9         61.    These deputies heard Paul yell “no, don’t do it, sir.” Paul’s voice
10   then became faint and unintelligible.
11         62.    Paul became unresponsive.           Paul was taken to UCSD Hospital
12   unconscious.
13         63.    Medical tests would later show a collapsed lung was caused by the
14   Sheriff’s excessive force. According to the Medical Examiner, there were visible
15   injuries of the head including blood on forehead, eyebrows and nose; laceration
16   with abrasion on the right eyebrow; contusion to the right eye; upper lip edema;
17   puncture wounds to the torso possibly from the Taser; abrasions to the wrist,
18   knuckles and forearm; puncture wound to the inner thigh, and contusions to the
19   left knee and left thigh.
20         64.    Paul sustained serious and permanent brain damage, neurological
21   injuries, kidney failure and other life-threatening injuries.
22         65.    Paul was in a coma for several weeks before he ultimately
23   succumbed to his injuries.
24         66.    Paul’s hospital lab results were negative for any alcohol,
25   amphetamines, opiates, methadone, barbiturates or cocaine.
26         67.    The Medical Examiner determined that the cause of death was
27   restraint, which caused Paul’s heart to stop, which resulted in Paul’s inability to
28   breathe.

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 1           68.     The Medical Examiner determined that the manner of death was
 2   homicide.
 3           69.     Despite the fact that Paul was visibly symptomatic of schizophrenia,
 4   no medical staff tended to Paul.
 5           70.     During the 36 hours Paul was in jail, he received no medication for
 6   his schizophrenia or any other mental health services.
 7           71.     Despite the fact that the deputies determined that Paul needed
 8   medical attention, no medical care provider was consulted or called for diagnosis
 9   or treatment.
10           72.     All medical staff worked under the direction and supervision of
11   Defendant Joshua, who set the policies and procedures with respect to medical
12   services.
13           73.     There had been a systemic failure to adhere to the written policies
14   and procedures with respect to providing adequate health care to inmates in the
15   San Diego County jails.
16           74.     There had been a systemic failure in San Diego County to investigate
17   incidents of medical neglect, staff misconduct, excessive force, and deaths in the
18   Jail.
19           75.     Deaths of sixty (60) inmates in the San Diego County jails in a span
20   of five (5) years prompted a series of articles by Citybeat, a local newspaper.
21   Citybeat reported that San Diego County had the highest mortality rate among
22   California’s largest jail systems based on data from 2007 to 2012.
23           76.     Citybeat reported that between 2007 and 2012, San Diego County
24   averaged ten (10) deaths a year, with a high of twelve (12) in 2009 and a low of
25   eight (8) in both 2007 and 2012.
26           77.     Citybeat reported in a follow-up article that twelve (12) people died
27   in 2013. In 2014, sixteen (16) county-jail inmates died.
28

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 1         78.    San Diego County officials, including Defendant Gore, were aware
 2   of the systemic problems with preventable deaths in the jails, but took no action
 3   to prevent further Constitutional violations.
 4         79.    At the time of Paul Silva’s death, there had been a long-standing
 5   custom and practice of improper and inadequate investigations; cover-up of
 6   misconduct; and failure to discipline and train deputies and medical staff.
 7         80.    Defendant Joshua was well aware of these problems when he
 8   became the medical director. Joshua told reporters that staff would be trained to
 9   be more attentive to signs that might indicate mental distress, like the condition of
10   an inmate’s cell or whether someone was refusing meals.
11         81.    County Defendants were aware of the following examples of failure
12   to coordinate and share critical medical information among personnel, and other
13   widespread problems at the San Diego County jails, such as the following:
14         82.    Inmates Jeff Dewall (2008) and Tommy Tucker (2009) died at the
15   hands of jail deputies due to oxygen deprivation when guards attempted to
16   restrain them.    In the case of Tommy Tucker (who suffered from serious
17   psychiatric conditions), deputies who were involved in the use of force sat
18   together in the supervisor’s office at the Central Jail and discussed what happened
19   before writing a report. The deputy statements were inconsistent with the video
20   of the event and the physical evidence. Upon information and belief, none of the
21   deputies were reprimanded.      The Citizens’ Law Enforcement Review Board
22   (“CLERB”) did not investigate Tommy Tucker’s death.
23         83.    Between 2007 and 2012, there were eight deaths in San Diego’s jails
24   that were drug-related. They were either overdoses or physical complications due
25   to withdrawal.     Richard Diaz, a 40-year-old addict, died from a stomach
26   obstruction after three days of seizures and vomiting due to heroin withdrawal.
27         84.    In 2008, after the suicide of Adrian Correa, a 21-year-old paranoid
28   schizophrenic who had threatened to kill himself multiple times, CLERB

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 1   expressed concern about a breakdown in communication during shift changes: “A
 2   checklist that includes the status of at-risk inmates and the Department’s response
 3   plan would enhance continuity of care, monitoring and housing.”
 4         85.    In response to CLERB, Earl Goldstein, the Sheriff’s medical director
 5   at that time, rejected the recommendation, saying that the jail’s suicide rate was
 6   low—only four suicides total during the 2007-2008 and 2008-2009 fiscal years
 7   (July 1, 2007, through June 30, 2009). There were actually six suicides during
 8   that period. Goldstein wrote: “Based on . . . the low incidences of completed
 9   suicides in our facilities, it is not practical to add these systems to the current
10   program.”
11         86.    In a March 2011 letter to the sheriff, the CLERB expressed concern
12   that the department did not have formal policies regarding when it would alert
13   CLERB of an inmate’s death, despite the County Code’s endowing the board with
14   clear oversight responsibilities. Per state law, CLERB is allowed one year to
15   initiate an investigation. There were cases in 2009 and 2010 that the Board didn’t
16   find out about in time in order to timely begin an investigation. CLERB identified
17   five areas in which it wanted to be included in the notification process; the Sheriff
18   declined to initiate all of them.
19         87.    “We strive to respond with professionalism and a spirit of
20   cooperation to recommendations for improvement to the policies and
21   procedures,” Sheriff’s Department Executive Manager John Madigan wrote in
22   response. “CLERB has significantly contributed to the enhancement [of] these
23   important documents and we appreciate the Board’s insight.” But, he concluded:
24   “After due consideration, Sheriff Gore respectfully declines to modify the policies
25   and procedures as suggested by CLERB.”
26         88.    On June 25, 2011, Daniel Sisson died from an acute asthma attack
27   made worse by drug withdrawal. The San Diego County Medical Examiner
28   estimated in an autopsy report that Sisson had been dead for several hours when a

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 1   fellow inmate found him. The jail staff had failed to monitor him despite his
 2   exhibiting signs of withdrawal and his vomiting in his cell.
 3         89.    In September 2012, Bernard Victorianne suffered for five days from
 4   drug overdose because the staff ignored his medical information that he had
 5   ingested a baggie of methamphetamine, and that he was to return to the hospital
 6   immediately if he became symptomatic of overdose. Bernard Victorianne was
 7   placed in segregation instead of Medical, where he was found dead face-down,
 8   naked in his cell.
 9         90.    In 2014, Hector Lleras told jail staff that he was suicidal. He was
10   placed in a safety cell for a day. Twenty-four hours after he was released from a
11   safety cell, he hanged himself.
12         91.    In 2014, Christopher Carroll, who was mentally ill, was placed in
13   segregation. He was found dead with a noose around his neck. Mr. Carroll had
14   smeared blood on the wall of his cell. He had urinated on the floor and food and
15   feces were stuck to the ceiling.
16         92.    In 2014, Kristopher NeSmith committed suicide after the jail staff
17   failed to treat Mr. NeSmith for his significant and known mental illness and a
18   history of suicide attempts. When Mr. NeSmith was last seen alive about 10:00
19   p.m., a guard noticed a bedsheet fashioned into a rope as he was making a routine
20   safety throughout the detention center. The deputy, without breaking stride, said
21   something to the effect of, “Nesmith, what are you trying to do? Kill yourself?
22   Take that thing down.” No other jail staff took any further action. Mr. NeSmith
23   was found dead, having hung himself.
24         93.    In 2015, Ruben Nunez, a schizophrenic mental health patient
25   transferred from Patton State Hospital, died when jail doctors failed to treat a
26   potentially lethal condition for water intoxication and the jail staff left Mr. Nunez
27   in the cell in his own vomit and urine.
28

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 1         94.    These are just a few examples of the customs and/or policies of the
 2   Sheriff’s Department which sent the message to staff that negligence, dishonesty
 3   and improprieties will be tolerated by the Department, even when a death results.
 4         95.    The County’s investigative body, CLERB, which has the
 5   responsibility to investigate all in-custody deaths, had just three paid employees:
 6   an executive officer, an investigator, and an administrative assistant.
 7         96.    CLERB consists of eleven volunteers, who are not required to have
 8   previous special training or experience in investigations or any other relevant
 9   topics related to jail operations, Constitutional requirements, or law.
10         97.    CLERB members are appointed by the County Board of Supervisors.
11         98.    CLERB does not control its budget. It cannot hire investigative staff
12   itself, even when required to complete its work.
13         99.    While CLERB has the authority to annually inspect county adult
14   detention facilities and annually file a report of such visitations together with
15   pertinent recommendations on issues including detention, care, custody, training
16   and treatment of inmates, CLERB has never inspected a single jail facility in the
17   25 years of its existence.
18         100. By October of 2017, CLERB had 59 open in-custody death
19   investigations, including a death going back six years.
20         101. On November 11, 2017, CLERB announced that it was summarily
21   dismissing 22 death cases without review. CLERB dismissed these cases based
22   on a one-year time limitation for imposing officer discipline for misconduct. This
23   is despite the fact that CLERB has publicly stated that “death cases and other
24   complex investigations often take more than one year to complete.”
25         102. The County failed to invest available state funding for mental health
26   services, including over $100 million of Mental Health Services Act (MHSA)
27   funding in 2017, with an additional $42 million in reserves.
28

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 1         103. In June of 2016, a Grand Jury documented the County’s under-
 2   utilization of MHSA monies. The Grand Jury recommended that the County
 3   “appropriate a larger percentage of MHSA funds each year in order to improve
 4   services to a larger number of seriously mentally ill and at-risk county residents.”
 5         104. At the time of Paul Silva’s death in 2018, the County had failed the
 6   implement the recommended changes from the Grand Jury.
 7         105. In 2018, Disability Rights California (DRC), the largest disability
 8   rights group in the United States, issued the findings from a study of San Diego
 9   County Jails, which reviewed suicide deaths from December 2014 to 2016.
10         106. According to DRC, its experts identified several deficiencies in San
11   Diego County’s clinical referral and evaluation practices. These experts also
12   found that San Diego County Jail inmates do not receive an adequate
13   individualized mental health treatment plan, a violation of state law.
14         107. DRC experts found that San Diego County has lacked an effective
15   system for custodial staff, mental health staff, and other health care staff to
16   communicate about an inmate’s decompensating condition, potential risk of
17   suicide or self-harm, and mental health treatment needs.
18         108. DRC reported:
19                Our investigation found that there are a large number of
20                San Diego County Jail inmates with significant mental
                  health needs. With few exceptions, enhanced mental
21                health treatment programming is provided only to those
22                with critically acute needs. In many cases, inmates
                  remain in harsh, non-therapeutic settings without
23                adequate treatment until their condition deteriorates.
24                Only when they reach the point of engaging in acts of
                  self-harm or having an acute breakdown do they receive
25
                  an enhanced level of care. Such a system is cruel and
26                counterproductive, and does not meet constitutional and
27                legal requirements.
28

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 1         109. DRC experts found problematic the number of inmates in mental
 2   health crisis who are not referred for placement in the PSU (Psychiatric Security
 3   Unit), where the patient can be monitored. DRC reported that there are large
 4   numbers of inmates cycling in and out of Safety Cells, many remaining in those
 5   cells for extended periods of time. But Safety Cells are harsh, barren, and
 6   isolating. They are not designed to facilitate clinical evaluation or treatment.
 7         110. DRC reported that in its investigation, a major theme that emerged
 8   was that inmates do not have timely access to adequate mental health care,
 9   including counseling, psychiatric medications, and other treatment programming.
10         111. DRC found that access to mental health treatment remains extremely
11   limited outside the inpatient PSUs. It generally consists of medication
12   management and brief, non-confidential “check-ins” with mental health staff,
13   often through a cell door. Non-confidential clinical contacts undermine treatment,
14   as prisoners are often reluctant to disclose sensitive information about their
15   mental health history or current situation. What is more, effective communication
16   through the thick metal cell doors is extremely difficult – people must speak very
17   loudly to be heard at all.
18         112. The DRC experts found a significant number of failures on the part
19   of San Diego County Jails from intake of inmates, housing placements,
20   communication between custodial staff and mental health staff, monitoring of the
21   mentally ill, to coordination of care. The experts found that San Diego County
22   has no functioning quality improvement program to improve health care by
23   identifying problems, and by implementing and monitoring corrective actions.
24         113. Paul Silva was a disabled individual suffering from a mental
25   impairment that substantially limited one or more major life activities. Paul Silva
26   was a “qualified individual with a disability” for purposes of the Americans with
27   Disabilities Act and the Rehabilitation Act.
28

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 1            114. The City of San Diego and the County of San Diego are “public
 2   entities” for purposes of the Americans with Disabilities Act and the
 3   Rehabilitation Act.
 4            115. It was well documented that Paul Silva was diagnosed with
 5   schizophrenia and he was unable to care for himself.
 6            116. Defendants denied Paul Silva benefits of the services, programs or
 7   activities of the City of San Diego and the San Diego County Jail because of his
 8   disability and subjected him to discrimination.
 9                           FIRST CAUSE OF ACTION
10                (Arrest without Probable Cause (42 U.S.C. §1983))
11      [By the Estate of Paul Silva Against Defendant Murrow and Does 1-60]

12            117. Plaintiffs reallege all prior paragraphs of this complaint and
13   incorporate the same herein by this reference.
14            118. 42 U.S.C. § 1983 provides in part:
15
                    Every person who, under color of any statute, ordinance,
16                  regulation, custom, or usage of any State or Territory
17                  subjects, or causes to be subjected, any person of the
                    United States or other person within the jurisdiction
18                  thereof to the deprivation of any rights, privileges, or
19                  immunities secured by the Constitution and laws shall be
                    liable to the party injured in an action at law, suit at
20                  equity or other proper proceeding for redress.
21
22            119. Paul Silva had a firmly established right under the Fourth

23   Amendment to be free from arrest without probable cause. Defendant Murrow

24   arrested Paul without probable cause despite the fact that he had committed no

25   crime.

26            120. Defendant Murrow was performing his duties as an officer for

27   Defendant City of San Diego.

28            121. There was no basis to believe that Paul had committed a crime.


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 1         122. All indications were that Paul was acting out as a result of his failure
 2   to take his medication.
 3         123. Murrow was specifically informed by Leslie Allen that Paul did not
 4   take street drugs; that Paul was schizophrenic; that Paul’s conduct and demeanor
 5   were the result of schizophrenia, not drug consumption.
 6         124. Murrow was specifically informed by Leslie Allen that Paul’s family
 7   had previously contacted PERT team members who had successfully dealt with
 8   Paul’s schizophrenia.
 9         125. PERT team members were at the scene dealing with Paul, who was
10   already calming down and speaking with PERT members.
11         126. Murrow had no reason and no legal basis to arrest Paul Silva.
12         127. Despite having access to the County’s record system with respect to
13   Paul Silva’s prior contact with PERT and County Mental Health, PERT team
14   members did nothing to intercede. These PERT Does were well aware that Paul’s
15   behavior was symptomatic of Paul being off of his psychotropic medication.
16   They were aware that Paul’s behavior was not symptomatic of illicit drug use.
17         128. Having the opportunity to intercede, these PERT Doe Defendants
18   failed to do so and allowed a schizophrenic patient to be unnecessarily and
19   unlawfully incarcerated.
20                          SECOND CAUSE OF ACTION
21       (Deliberate Indifference to Serious Medical Needs (42 U.S.C. §1983))
22     [By the Estate of Paul Silva Against Defendants Murrow, Joshua, Liberty
                              Health Care and Does 1-100]
23
24         129. Plaintiffs reallege all prior paragraphs of this complaint and
25   incorporate the same herein by this reference.
26         130. Defendants violated Paul Silva’s Fourteenth Amendment right to
27   medical care.
28

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 1         131. Defendants knew that Paul Silva faced a serious medical and mental
 2   health need.
 3         132. Defendant Murrow was made aware that Paul suffered from
 4   schizophrenia and that he needed to go to a proper mental health facility to
 5   receive medical care.
 6         133. Instead of allowing PERT members to assess Paul’s mental
 7   condition and take Paul to receive medical care, Murrow instead took him to the
 8   Central Jail for a crime Paul did not commit.
 9         134. Doe Defendants who were PERT members knew that Paul was in
10   need of care for his mental health condition. Instead of taking him to County
11   Mental Health as requested by Ms. Allen, they allowed Defendant Murrow to
12   arrest Paul and deny him medical care.
13         135. Doe PERT team members failed to assess and treat Paul’s mental
14   condition despite their knowledge that Paul suffered from schizophrenia.
15         136. Murrow and Does failed to adequately communicate to the Jail Staff
16   that Paul suffered from schizophrenia and that Paul required mental health care.
17         137. Once at the Central Jail, the jail medical staff failed to take proper
18   intake to assess whether Paul required mental health care.
19         138. These defendants failed to house Paul in an area where he could be
20   observed and monitored.
21         139. Defendants were deliberately indifferent to a known and serious
22   medical need.
23         140. Defendants failed to properly communicate to other medical and
24   security staff the necessary medical information so that Paul would receive
25   medical attention.
26         141. Defendants were deliberately indifferent to Paul Silva’s serious
27   medical need, which caused harm to the decedent.
28

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 1         142. Defendant Joshua was deliberately indifferent to Paul Silva’s serious
 2   medical need by failing to properly set forth policies and procedures for proper
 3   care of inmates in medical distress.
 4         143. Joshua knew that a significant number of inmates booked in Central
 5   Jail suffered from serious mental health conditions.
 6         144. Defendants Liberty Healthcare and Joshua knew that the policies
 7   they had implemented with respect to medical care of inmates suffering from
 8   mental health conditions were grossly inadequate. Defendants were aware of the
 9   disproportionately high number of deaths in San Diego County Jails.
10         145. Defendant Joshua knew that the jail staff were failing to read the
11   patients’ medical charts or that they were ignoring the information contained in
12   the medical records. Joshua was deliberately indifferent in failing to implement
13   policies and providing oversight to ensure that their subordinates were complying
14   with the constitutional requirements in treating patient/inmates.
15         146. Defendants Liberty Health Care and Joshua acted with deliberate
16   indifference in failing to implement policies with respect to evaluation and
17   treatment of inmates suffering from mental health conditions.
18         147. Defendants Does 51-100 acted under the direction and supervision of
19   Defendants Liberty Health Care and Joshua who set forth the standards, policies
20   and procedures on treatment of inmates, including Paul Silva.
21         148. Pursuant to the policies and procedures set by Defendants Liberty
22   Healthcare and Joshua, Paul Silva received no medical care despite obvious signs
23   that he was suffering from schizophrenia.
24         149. By failing to set forth procedures on proper care of inmates,
25   including mandates that inmates who suffer from schizophrenia be observed in
26   Medical; that they be monitored regularly by a medical doctor; that the inmate be
27   transported to a hospital when exhibiting obvious signs of schizophrenia,
28

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 1   Defendants Liberty Healthcare and Joshua were deliberately indifferent to Paul
 2   Silva’s serious medical need.
 3          150. As a direct and proximate result of all Defendants’ deliberate
 4   indifference to Paul’s serious medical need, Paul Silva experienced physical pain,
 5   severe emotional distress, and mental anguish for days, as well as loss of his life
 6   and other damages alleged herein.
 7          151. The conduct alleged herein caused Paul Silva to be deprived of his
 8   civil rights that are protected under the United States Constitution which has also
 9   legally, proximately, foreseeably and actually caused Paul Silva to suffer
10   emotional distress, pain and suffering and further damages according to proof at
11   the time of trial.
12          152. The conduct alleged herein was done in deliberate or reckless
13   disregard of decedent’s constitutionally protected rights; justifying the award of
14   exemplary damages against defendants in an amount according to proof at the
15   time of trial in order to deter the defendants from engaging in similar conduct and
16   to make an example by way of monetary punishment. Plaintiff is also entitled to
17   attorney fees and costs of suit herein.
18                            THIRD CAUSE OF ACTION
19                         (Excessive Force (42 U.S.C. §1983))
20             [By the Estate of Paul Silva against Defendants Does 51-100]

21          153. Plaintiffs reallege all prior paragraphs of this complaint and
22   incorporate the same herein by this reference.
23          154. Defendants committed wrongful acts which proximately caused the
24   death of Paul Silva.
25          155. During his intake at the Central Jail, Paul was described as anxious
26   and hyper-verbal.      The Jail staff were aware that Paul suffered from
27   schizophrenia.
28

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 1         156. The following day, on February 21, 2018, deputies saw Paul acting
 2   erratically, running in his cell, throwing himself to the ground and yelling
 3   incoherently.     He was seen staring out the window with mouth wide open,
 4   holding his arms out pointing toward the window and walls, crawling and rolling
 5   on the floor.
 6         157. Doe Deputies knew that Paul needed medical attention.
 7         158. Instead of calling for psychiatric assistance, Doe Deputies used force
 8   to subdue Paul.
 9         159. Paul had not harmed anyone or threatened to harm anyone.
10         160. Doe Deputies pepper sprayed Paul.
11         161. Deputies called for Tactical Team (TT) to remove Paul from his cell.
12         162. Paul      remained   non-verbal,     exhibiting   bizarre   behavior   for
13   approximately 22 minutes while deputies observed Paul as they waited for the
14   Tactical Team to arrive.
15         163. When the Tactical Team arrived, they shot Paul with water balls.
16         164. They repeatedly Tasered Paul. Paul was Tasered for at least 22
17   seconds while six other members of the Tactical Team held him down with a
18   body shield over his torso.
19         165. At least six members were on or around his body with a shield
20   placed on top of his torso with two officers pushing down on the shield.
21         166. One deputy instructed the other members to use “downward pressure
22   with the shield, get your body weight on it.”
23         167. These deputies heard Paul yell “no, don’t do it, sir.” Despite hearing
24   his pleas, these Doe defendants continued to use force on Paul Silva, who was
25   prone and helpless on the ground.
26         168. Paul’s voice became faint and unintelligible.
27         169. Paul became unresponsive.
28

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 1         170. Paul was taken to UCSD Hospital unconscious, where he died from
 2   the injuries inflicted by Doe Sheriff Deputies.
 3         171. The acts of these Doe defendants as described above amounted to
 4   deliberate indifference to decedent’s Constitutional Rights.
 5         172. As a direct and proximate result of the unlawful acts, excessive
 6   force, unlawful seizure and recklessness described above, plaintiffs' decedent
 7   Paul Silva suffered severe injuries and loss of his life. His estate is entitled to
 8   general and compensatory damages in an amount to be proven at trial.
 9
10                          FOURTH CAUSE OF ACTION
                          (Wrongful Death (42 U.S.C. §1983))
11   [By the Estate of Paul Silva against Defendants Murrow, Liberty Health Care
12                                   and Does 1-100]
13         173. Plaintiffs reallege all prior paragraphs of this complaint and
14   incorporate the same herein by this reference.
15         174. Defendants committed wrongful acts which proximately caused the
16   death of Paul Silva. Defendants were deliberatively indifferent to Paul Silva’s
17   serious medical needs, health and safety; they violated Paul Silva’s civil rights;
18   they falsely arrested him and used excessive and unnecessary force, all causing
19   the untimely and wrongful death of Paul Silva.
20         175. Defendants Murrow and Does 1-100 saw Paul Silva in medical
21   distress but failed to render aid, call for a doctor, or transport him to the hospital.
22         176. Defendants deprived Paul Silva of his rights under the Fourteenth
23   Amendment to the United States Constitution.
24         177. These wrongful acts were done with a deliberate indifference to the
25   safety and welfare of Paul Silva.
26         178. The conduct alleged herein violated Paul Silva’s rights alleged above
27   thereby resulting in a deprivation of Plaintiffs’ rights alleged above which has
28   legally, proximately, foreseeably and actually caused Plaintiff to suffer emotional

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 1   distress, pain and suffering, and further general and special damages according to
 2   proof at the time of trial.
 3                           FIFTH CAUSE OF ACTION
 4                      (Right of Association (42 U.S.C. §1983))
 5    [By Plaintiffs Manuel Silva and Leslie Allen against Defendant Murrow and
                                      Does 1-100]
 6
 7          179. Plaintiffs reallege all prior paragraphs of this complaint and
 8   incorporate the same herein by this reference.
 9          180.     Defendants deprived Paul Silva of his rights under the United States
10   Constitution to be free denial of medical care and denial of due process.
11          181. The aforementioned acts and/or omissions of Defendants in being
12   deliberatively indifferent to serious medical needs, health and safety; violating
13   Paul Silva’s civil rights; falsely arresting him and using excessive and
14   unnecessary force caused the untimely and wrongful death of Paul Silva, and
15   deprived Plaintiffs Manuel Silva and Leslie Allen of their liberty interest in the
16   parent-child relationship in violation of their substantive due process rights as
17   defined by the First and Fourteenth Amendments to the United States
18   Constitution.
19          182. There was no legitimate penological interest in failing to
20   communicate critical medical information and denying access to medical care to
21   an inmate in obvious medical distress. Defendants’ actions shock the conscience.
22          183. The deprivation of the rights alleged above has destroyed the
23   Constitutional rights of Paul Silva’s parents, Manuel Silva and Leslie Allen, to
24   the society and companionship of their son which is protected by the substantive
25   due process clause of the Fourteenth Amendment.
26          184. The conduct alleged herein violated Paul Silva’s rights alleged above
27   thereby resulting in a deprivation of Plaintiffs’ rights alleged above which has
28   legally, proximately, foreseeably and actually caused Plaintiffs to suffer

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 1   emotional distress, pain and suffering, and further damages according to proof at
 2   the time of trial.
 3                               SIXTH CAUSE OF ACTION
                         (Failure to Properly Train (42 U.S.C. § 1983))
 4          [By the Estate of Paul Silva against the City of San Diego, Zimmerman,
 5          County of San Diego, Gore, Community Research Foundation, Joshua,
                  Liberty Healthcare, and Supervisory Doe Defendants 1-100]
 6
 7            185. Plaintiff realleges all prior paragraphs of this complaint and
 8   incorporates the same herein by this reference.
 9            186. Defendants City of San Diego, Zimmerman, Community Research
10   Foundation and Doe supervisors failed to properly train defendant Murrow and
11   Doe officers in the performance of their duties. They failed to properly train
12   officers on how to deal with a call made to PERT for assistance with the mentally
13   ill.
14            187. They failed to properly train officers on arresting and charging the
15   mentally ill citizens with crimes based on no evidence of a crime. They failed to
16   properly train their officers on arrests without probable cause.
17            188. Defendant Community Research Foundation failed to train its
18   officers and medical staff on how to properly deal with citizens in mental health
19   crisis. It failed to properly train its subordinates or staff or officers on how to
20   distinguish mental illness from signs of substance abuse. It failed to properly
21   train its subordinates, staff or officers on how to deal with other law enforcement
22   officials to ensure that the citizen is given mental health care instead of
23   incarceration.
24            189. Defendants City of San Diego, Zimmerman and Doe supervisors
25   failed to properly train their employees with regard to the need to communicate
26   critical medical information to jails that would house their patients.
27
28

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 1         190. Officials of the San Diego Sheriff’s Department, acting under color
 2   of law, have subjected decedent Paul Silva and other persons similarly situated to
 3   a pattern of conduct consisting of continuing, widespread and persistent pattern of
 4   unconstitutional misconduct.
 5         191. Defendants Gore, Joshua, Liberty Healthcare and Does 31-40 have
 6   failed to maintain adequate and proper training necessary to educate deputies and
 7   medical staff as to the Constitutional rights of inmates; to prevent the consistent
 8   and systematic failure to provide medical care.
 9         192. There has been an official policy of acquiescence in the wrongful
10   conduct. Defendants failed to promulgate corrective policies and regulations in
11   the face of repeated Constitutional violations.
12         193. Gore, Joshua and Liberty Healthcare failed to train medical and
13   psychiatric doctors and nurses on the necessary care of inmates suffering from
14   serious medical conditions, and they failed to implement policies and procedures
15   with respect to proper training.
16         194. Gore, Joshua and Liberty Healthcare failed to train medical and
17   psychiatric doctors and nurses on documenting and reading critical information
18   on medical charts to ensure continuity of care.
19         195. Defendants County of San Diego, Gore, Joshua, Liberty Healthcare
20   and Doe supervisors, with deliberate indifference, disregarded a duty to protect
21   the public from official misconduct.
22         196. Despite their knowledge of previous instances of wrongful deaths in
23   the jails, Defendants failed to properly train or retrain their deputies and medical
24   staff to prevent deaths of inmates.
25         197. The failure of all supervisory defendants to promulgate or maintain
26   constitutionally adequate training was done with deliberate indifference to the
27   rights of Paul Silva and others in his position.
28

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 1          198. As a result, decedent Paul Silva suffered physical and psychological
 2   injuries and death.
 3          199.   As a direct consequence of the failure of Defendants to properly
 4   train their officers and medical staff, Paul Silva suffered unconstitutional
 5   treatment and inhumane conditions during his detention.
 6          200. As a result of the Defendants’ historical failure to properly train,
 7   Defendants were deliberately indifferent to the needs of Plaintiff.
 8                         SEVENTH CAUSE OF ACTION
 9         (Failure to Properly Supervise and Discipline (42 U.S.C. §1983))
10      [By the Estate of Paul Silva against the City of San Diego, Zimmerman,
       Community Research Foundation, the County of San Diego, Gore, Joshua,
11            Liberty Healthcare and Supervisory Doe Defendants 1-100]
12          201. Plaintiff realleges all prior paragraphs of this complaint and
13   incorporates the same herein by this reference.
14          202. Defendants City of San Diego, Zimmerman, Community Research
15   Foundation and Doe supervisors failed to properly supervise and discipline
16   defendant Murrow and Does in the performance of their duties in making false
17   arrests.
18          203. These Defendants failed to properly supervise their employees with
19   regard to the need to communicate critical medical information to jails that would
20   house their patient/arrestee.
21          204. As a result of the Defendants’ historical failure to properly supervise
22   and discipline their employees, Defendant Murrow and Does were deliberately
23   indifferent to the serious medical needs of Plaintiff.
24          205. All defendants failed to supervise their subordinates so that
25   persons living with mental illness will have access to and be referred to programs
26   at the appropriate level of service and no person will be hospitalized or
27   incarcerated unnecessarily. All defendants failed to supervise their subordinates
28   so that they contribute to the well-being of individuals with mental illness by

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 1   actively and compassionately assisting individuals in crisis who come to the
 2   attention of law enforcement to access appropriate services and to optimize
 3   outcomes through on-scene assessments and referrals.
 4         206. All Defendants failed to properly supervise their subordinates with
 5   regard to the need to communicate critical medical information and the need to
 6   provide adequate care. As a result, police officers, PERT members, deputies and
 7   medical care providers denied care to Paul Silva.
 8         207. Defendants County of San Diego, Gore, Joshua, Liberty Healthcare
 9   and Doe supervisors failed to provide adequate supervision and discipline to the
10   medical staff who are required to render medical care that meet the standards of
11   the Constitution.
12         208. Defendants County of San Diego, Gore, Joshua, Liberty Healthcare
13   and Doe supervisors failed to promulgate and enforce adequate policies and
14   procedures related to misconduct and the violation of citizens’ civil rights by
15   deputies and medical staff.
16         209. Defendants County of San Diego, Gore and Joshua have a
17   widespread history of ratifying employee misconduct by failing to conduct
18   appropriate investigations.
19         210. Defendants were aware of previous instances of untimely and
20   wrongful deaths in the San Diego County Jails and failed to properly supervise
21   and discipline their employees or agents.
22         211. Defendants County of San Diego, Gore, Joshua, Liberty Healthcare
23   and Doe supervisors refused to investigate misconduct and/or took no remedial
24   steps or action against deputies and medical staff.
25         212. Upon information and belief, supervising officers were made aware
26   of the misconduct or witnessed the Constitutional violations committed by the
27   deputies and medical staff but failed to supervise or discipline them.
28

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 1         213. There has been an official policy of acquiescence in the wrongful
 2   conduct. Defendants failed to promulgate corrective policies and regulations in
 3   the face of repeated Constitutional violations.
 4         214. Defendants condoned and acquiesced in the abusive behavior of their
 5   subordinates by refusing to retrain them, discipline them, or correct their abusive
 6   behavior.
 7         215. Defendants were, or should have been, aware that the policy
 8   regarding supervision and discipline of staff who violated the civil rights of
 9   inmates or citizens was so inadequate that it was obvious that a failure to correct
10   it would result in further incidents of dangerous and lawless conduct perpetrated
11   by their subordinates.
12         216. As a result of all Defendants’ historical failure to properly supervise
13   and discipline deputies, Defendants were deliberately indifferent to the needs of
14   Plaintiff. The failure to supervise and discipline was the moving force behind the
15   misconduct of the deputies, the denial of medical care on the Plaintiff, and the
16   resulting pain and suffering and death.
17
                            EIGHTH CAUSE OF ACTION
18                (Failure to Properly Investigate (42 U.S.C. §1983))
19      [By the Estate of Paul Silva against the City of San Diego, Zimmerman,
        Community Research Foundation, County of San Diego, Gore, Joshua,
20               Liberty Healthcare and Supervisory Doe Defendants]
21
22         217. Plaintiff realleges all prior paragraphs of this complaint and
23   incorporates the same herein by this reference.
24         218. Defendants maintained a longstanding pattern of failing to properly
25   investigate misconduct.
26         219. Upon information and belief, City of San Diego Defendants
27   maintained a de facto policy of failing to adequately investigate instances of
28   Constitutional violations, including wrongful arrests.

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 1         220. Upon information and belief, Community Research Foundation
 2   maintained a de facto policy of failing to adequately investigate instances of
 3   Constitutional violations, including wrongful arrests, and failure to intercede by
 4   its subordinates or employees.
 5         221. Upon information and belief, all Defendants maintained a de facto
 6   policy of not obtaining accurate and timely reports from witnesses and staff
 7   alleged to have been involved in misconduct or witnessed misconduct.
 8         222. Upon information and belief, County of San Diego Defendants
 9   maintained a de facto policy of allowing homicide investigators to intimidate
10   witnesses; to ask leading questions, suggesting the answers; and to summarize the
11   interviews of inmates in their investigation files in a manner that distort the actual
12   recorded statements of witnesses.
13         223. Upon information and belief, County of San Diego, Gore, Joshua,
14   Liberty Healthcare and Doe supervisors gave families of inmates limited
15   information regarding the deaths of their loved ones. On one occasion, they
16   waited 1½ years to provide information on how an inmate died. In another case,
17   the family found out the facts of their son’s death from reading reports of CLERB
18   made publicly available.
19         224. Defendants County of San Diego, Gore, Joshua, Liberty Healthcare
20   and Doe supervisors historically and systematically engaged in a pattern of failure
21   to properly investigate misconduct of deputies and medical staff.
22         225. County of San Diego Defendants maintained a de facto policy of
23   failing to investigate in-custody deaths by CLERB.
24         226. County of San Diego Defendants maintained a de facto policy of
25   failing to notify CLERB of in-custody deaths.
26         227. County of San Diego Defendants maintained a de facto policy of
27   failing to adequately fund CLERB; properly staff CLERB; to properly train
28

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 1   CLERB on how to conduct proper investigations; and to allow summary
 2   dismissal of in-custody deaths without any investigation.
 3         228.   The longstanding pattern of failing to properly investigate staff
 4   misconduct led to the actions or inactions of the deputies and medical staff who
 5   denied medical care to Paul Silva. Defendants’ pattern of failing to investigate
 6   created a culture of unconstitutional acts and acts that violate the Jail’s own
 7   policies and procedures.
 8         229. Defendant Gore was personally aware of these failures but took no
 9   action to prevent harm to inmates, including Paul Silva.
10         230. Defendants Joshua and Liberty Healthcare failed to properly
11   investigate the misconduct of the medical staff despite a history of medical
12   neglect and preventable deaths in the San Diego jails.
13         231. The individual defendants in this case knew that their actions would
14   not be investigated and that they would not be disciplined for their actions.
15         232. The systemic failures by all defendants to properly investigate led to
16   the misconduct of the police officers, deputies and medical staff in this case.
17         233. As a result of all Defendants’ historical failure to properly
18   investigate, Defendants were deliberately indifferent to the needs of Plaintiff Paul
19   Silva. The failure to investigate was the moving force behind the denial of
20   medical care, and cruel and unusual punishment on the decedent Paul Silva and
21   the resulting pain and suffering and death.
22                            NINTH CAUSE OF ACTION
23        (Monell Municipal Liability Civil Rights Action (42 U.S.C. §1983))
24   [By all Plaintiffs Against Defendants the City of San Diego and the County of
                                       San Diego]
25
26         234. Plaintiffs reallege all prior paragraphs of this complaint and
27   incorporate the same herein by this reference.
28

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 1            235. Defendant City of San Diego maintained an unconstitutional policy,
 2   ordinance or regulation which allowed their officers to falsely arrest citizens,
 3   including those who need medical help.
 4            236. Defendant City of San Diego maintained an unconstitutional policy,
 5   ordinance or regulation which allowed their officers to deny medical care to the
 6   mentally ill.
 7            237. During the relevant period, all Defendant police officers and Does 1-
 8   50 were acting pursuant to the policies of Defendant City of San Diego.
 9            238. There was a custom and practice of not properly funding and
10   utilizing PERT. There was a custom and practice of not properly training PERT
11   staff.
12            239. Defendants, the City of San Diego and the County of San Diego,
13   failed to set forth any policies or conduct any self-evaluation of procedures and
14   training under the Americans with Disability Act and the Rehabilitation Act for
15   its personnel about how to handle encounters with persons who have mental
16   illness or another disability.
17            240. Defendants, the City of San Diego and the County of San Diego,
18   maintained a de facto policy of permitting unconstitutional and lawless conduct
19   by their employees.
20            241. Defendant County of San Diego maintained an unconstitutional
21   policy, ordinance or regulation which allowed their deputies and medical staff to
22   deny medical care to inmates.
23            242. There were longstanding and systemic deficiencies in San Diego
24   jails’ treatment to inmates.       Deficiencies included improper cell checks,
25   inadequate medical staffing, lack of required training on screening, diagnosis and
26   treatment of medical and psychiatric conditions, lack of communication of
27   necessary and critical medical information among staff, and non-compliant
28   medical policies and procedures.

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 1           243. These deficiencies included allowing the use of unlawful and
 2   unnecessary force and failing to investigate and discipline deputies for the use of
 3   such force. There was a custom and practice of resorting to use of force on
 4   mentally ill patient/inmates who needed psychiatric help, not use of force.
 5           244. The County’s failure to train its deputies and medical staff on
 6   treatment of inmates in medical distress gives inference of a municipal custom
 7   that authorized or condoned deputy misconduct.
 8           245. Upon information and belief, the permanent, widespread, well-
 9   settled practice or custom of Defendant was to deny treatment to inmates in
10   serious medical distress and to place inmates in administrative segregation or
11   general population instead of the medical ward when inmates are in need of
12   medical care.
13           246. There was a custom and practice of disbelieving complaints of
14   inmates when they request medical attention and denying them access to medical
15   care.
16           247. There was a custom and practice of not properly screening inmates
17   for medical care or treatment.
18           248. There was a custom and practice of failing to communicate the
19   medical needs of inmates between the medical staff and deputies.
20           249.    There was a custom and practice of not properly checking on the
21   welfare of inmates, even those inmates known to have serious physical or
22   psychiatric needs.
23           250. There was a custom and practice of failing to conduct proper cell
24   checks as required by County’s own written policies.
25           251. There was a custom and practice of not properly investigating
26   misconduct of deputies and medical staff.
27
28

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 1          252. There was a custom and practice of falsifying information during
 2   investigations of misconduct and misleading the investigations by the
 3   independent citizens’ review board.
 4          253. There were longstanding and systemic deficiencies in San Diego
 5   County of failing to investigate in-custody deaths by Homicide Division of San
 6   Diego County and by CLERB.
 7          254. Defendant County of San Diego was deliberately indifferent to the
 8   widespread unconstitutional acts by its staff and failed to set forth appropriate
 9   policies regarding the treatment of inmates.
10          255. During the relevant period, all Defendant deputies, medical staff, and
11   Does 51-100 were acting pursuant to the policies of Defendant County of San
12   Diego.
13          256. Death of sixty (60) inmates in the San Diego County jails in a span
14   of five (5) years prompted a series of articles by a local newspaper. Citybeat
15   reported that San Diego County had the highest mortality rate among California
16   largest jail systems based on data from 2007 to 2012. This rate continued through
17   2013 and 2014.
18          257. This pattern of tragic deaths supports an inference that Defendants
19   are promoting and maintaining a culture of deliberate indifference to human life
20   at the Jail.
21          258. Defendant County of San Diego was deliberately indifferent to the
22   right of the plaintiff and others to be free from, and protected from, harm by the
23   misconduct of its employees.
24          259. The Sheriff Department’s longstanding practice or custom was
25   unconstitutional in that it was deliberately indifferent to a substantial risk of
26   serious harm to inmates.
27          260. As a direct result of the practice or custom of the City of San Diego,
28   and the County of San Diego, Defendants, including Doe Defendants, denied

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 1   medical care, denied transportation to the hospital, failed to place Paul Silva in a
 2   medical wing, and used unlawful and excessive force, causing Paul Silva’s death.
 3         261. The unlawful and illegal conduct of Defendant deprived Paul Silva
 4   of the rights, privileges and immunities secured to him by the Constitutions of the
 5   United States.
 6         262. As a direct, proximate and foreseeable result, Plaintiff suffered
 7   damages in an amount according to proof at the time of trial.
 8
 9                            TENTH CAUSE OF ACTION
                         (Wrongful Death – CCP § 377.60, et seq.)
10                       [By All Plaintiffs against All Defendants]
11         263. Plaintiffs reallege all prior paragraphs of this complaint and
12   incorporate the same herein.
13         264. Plaintiffs allege all California state law claims as basis for state law
14   wrongful death cause of action and incorporate later torts by reference.
15         265. Defendants committed wrongful acts which proximately caused the
16   death of Paul Silva. Specifically, Defendants, including Does 1-100, deprived
17   Paul Silva of his rights under the United States Constitution to be free from the
18   punishment without due process and cruel and unusual punishment.
19         266. Defendant Murrow’s decision to deviate from the City of San
20   Diego’s own protocol as to the treatment of psychiatric patients was a substantial
21   factor in causing Paul’s death. It was reasonably foreseeable that failure to notify
22   the Jail of Paul’s schizophrenia would lead to the lack of treatment.
23         267. These acts resulted in the death of Paul Silva.
24         268. The City of San Diego, Community Research Foundation, and
25   County of San Diego are responsible for the act of individual and Doe Defendants
26   under the theory of respondeat superior.
27         269. The wrongful acts alleged above has destroyed the relationship
28   between Plaintiffs and Paul Silva and has legally, proximately, foreseeably and

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 1   actually caused severe emotional damages, including the loss of society,
 2   companionship, emotional distress, and further economic and non-economic
 3   damages according to proof at the time of trial.
 4                          ELEVENTH CAUSE OF ACTION
 5                                       (Negligence)
                          [By All Plaintiffs against All Defendants]
 6
 7         270. Plaintiffs reallege all prior paragraphs of this complaint and
 8   incorporates the same herein by this reference.
 9         271. Defendants had a duty to Plaintiff to act with ordinary care and
10   prudence so as not to cause harm or injury to another.
11         272. In evaluating, assessing and handling Paul Silva’s medical condition,
12   Defendants failed to comply with professional and legal standards.
13         273. Defendants improperly, negligently, wrongfully, and recklessly
14   subjected Paul Silva to arrest for a criminal charge instead of taking him to a
15   mental health care facility.
16         274. Defendants improperly, negligently, wrongfully, and recklessly
17   failed to provide necessary medical documentation and information to San Diego
18   Central Jail regarding Paul’s serious medical need.
19         275. Defendants improperly, negligently, wrongfully, and recklessly
20   failed properly document’s serious medical and psychiatric condition; failed to
21   communicate to the other jail staff regarding the need to monitor; and failed to
22   provide any medical care for a life-threatening condition.
23         276. Defendants improperly, negligently, wrongfully, and recklessly
24   failed to take any action to monitor Paul Silva despite his obvious symptoms of a
25   serious illness.
26         277. Defendants improperly, negligently, wrongfully, and recklessly
27   failed to render medical care to Paul Silva who was in obvious physical distress
28   and in acute need of psychiatric care.

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 1         278. Defendants improperly, negligently, wrongfully, and recklessly
 2   failed to transport Paul Silva to a psychiatric care facility and instead booked him
 3   in jail for a crime Paul did not commit.
 4         279. Members of PERT failed to obtain critical psychiatric information or
 5   ignored the information in the County electronic system, which alerted or would
 6   have alerted them to Paul Silva’s psychiatric history, diagnosis, medication, and
 7   treatment providers.
 8         280. Defendants improperly, negligently, wrongfully, and recklessly
 9   failed to take any action to summon help or transport Paul Silva to the hospital
10   despite their knowledge that he needed medical assistance.
11         281. Defendants Zimmerman, Gore, Joshua and Liberty Healthcare
12   improperly, negligently, wrongfully, and recklessly failed to set forth policies
13   regarding medical treatment of inmates suffering from serious mental health
14   conditions, including schizophrenia.
15         282. Defendants Zimmerman, Gore, Community Research Foundation
16   and Joshua improperly, negligently, wrongfully, and recklessly failed to set forth
17   policies regarding proper screening, evaluation, treatment, and transportation of
18   inmates suffering from a serious medical condition.
19         283. Defendants Zimmerman, Gore, and Joshua improperly, negligently,
20   wrongfully, and recklessly failed to conduct any self-evaluation of procedures and
21   training under the Americans with Disability Act and the Rehabilitation Act for
22   its personnel about how to handle encounters with persons who have mental
23   illness or another disability.
24         284. Defendants improperly, negligently, wrongfully, and recklessly
25   failed to conduct any self-evaluation of procedures and training under the
26   Americans with Disability Act and the Rehabilitation Act for its personnel about
27   how to handle protocols for patients who suffer from schizophrenia.
28

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 1         285. By engaging in the acts alleged herein, Defendants failed to act with
 2   ordinary care and breached their duty of care owed to Paul Silva.
 3         286. The City of San Diego, Community Research Foundation and the
 4   County of San Diego are responsible for the act of individuals and Doe
 5   Defendants under the theory of respondeat superior.
 6         287. Liberty Healthcare is responsible for the act of Doe Defendants
 7   under the theory of respondeat superior.
 8         288. Plaintiffs are informed and believe that Defendants, the City of San
 9   Diego, Community Research Foundation, the County of San Diego, Gore, Joshua,
10   Liberty Healthcare, and Does maintained policies, practices and procedures that
11   allowed for and encouraged the denial of care which ultimately caused the death
12   of Paul Silva. These policies, practices and procedures include without limitation
13   Defendants’ training procedures and practices with respect to supervision of the
14   officers and policies and procedures with regard to providing necessary medical
15   attention.
16         289. By engaging in the acts alleged herein, all defendants failed to act
17   with ordinary care and breached their duty of care owed to plaintiffs.
18         290. As a direct and proximate result of the Defendants’ negligent
19   conduct as herein described, Paul Silva suffered physically and mentally in the
20   amount to be determined at the time of trial.
21         291. As a further proximate result of the Defendants’ negligent conduct,
22   Paul Silva died.
23         292. As a further proximate result of the Defendants’ negligent conduct,
24   Plaintiffs Manuel Silva and Leslie Allen have lost their son and suffered great
25   emotional and mental harm in the amount to be determined at the time of trial.
26         293. The conduct of the Defendants also amounts to oppression, fraud or
27   malice within the meaning of Civil Code Section 3294 et seq. and punitive
28

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 1   damages should be assessed against each defendant for the purpose of punishment
 2   and for the sake of example.
 3                         TWELFTH CAUSE OF ACTION
 4                          (Violation of Cal. Civ. Code § 51)
 5   [By the Estate of Paul Silva against Murrow, the City of San Diego, County of
                               San Diego and Does 1-100]
 6
 7          294. Plaintiffs reallege all prior paragraphs of this complaint and
 8   incorporates the same herein by this reference.
 9          295. Pursuant to the Unruh Civil Rights Act, all persons within the
10   jurisdiction of this state are free and equal, and no matter what their sex, race,
11   color, religion, ancestry, national origin, disability, medical condition, genetic
12   information, marital status, sexual orientation, citizenship, primary language, or
13   immigration status are entitled to the full and equal accommodations, advantages,
14   facilities, privileges, or services in all business establishments of every kind
15   whatsoever.
16          296. Defendant Murrow violated the Unruh Act by denying Paul Silva the
17   full and equal accommodations, advantages, facilities, privileges or services as
18   other citizens who do not suffer from his disability.
19          297. Paul Silva was experiencing a medical emergency and required
20   assistance by medical care professionals. Paul Silva was denied these services on
21   the basis of his disability.
22          298. Paul Silva required the accommodations and services provided to all
23   inmates at intake, which was a proper and accurate assessment of all conditions
24   which may pose a risk of harm. Paul Silva required the accommodations and
25   services of a proper designation for housing. The County of San Diego and Does
26   51-100 denied Paul Silva these services on the basis of his disability.
27          299. As a direct and proximate result of Defendants’ actions, as alleged
28   herein, Plaintiff was injured as set forth above and is entitled to damages,

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 1   including compensatory and punitive damages, in an amount to be proven at trial
 2   and in excess of the jurisdictional amount required by this Court.
 3         300. In conducting himself as alleged herein, Murrow and Does 1 to 50
 4   were acting within the course and scope of their employment with Defendant City
 5   of San Diego. Thus, the City is responsible for Murrow’s and Doe Defendants’
 6   actions.
 7         301. Does 51 to 100 were acting within the course and scope of their
 8   employment with Defendant County of San Diego. Thus, the County is
 9   responsible for Doe Defendants’ actions.
10         302. In doing the foregoing wrongful acts, Defendants acted in reckless
11   and callous disregard for Plaintiffs' constitutional rights. The wrongful acts, and
12   each of them, were willful, oppressive, fraudulent and malicious, thus warranting
13   the imposition of punitive damages against each individual Defendant in an
14   amount adequate to punish the wrongdoers and deter future misconduct.
15                           THIRTEENTH CAUSE OF ACTION
16                            (Violation of Cal. Civ. Code § 52.1)
17          [By the Estate of Paul Silva against Murrow, the City of San Diego, the
                          County of San Diego and Does 1-100]
18
19         303. Plaintiffs reallege all prior paragraphs of this complaint and
20   incorporates the same herein by this reference.
21         304. Defendants interfered by threats, intimidation, or coercion, with the
22   exercise or enjoyment by Paul Silva of rights secured by the Constitution or laws
23   of the United States.
24         305. The Fourth and Fourteenth Amendments to the U.S. Constitution,
25   and Article I, section 13 of the California Constitution, guarantee (a) an
26   individual's right to be free from excessive force and (b) parents’ rights to the
27   companionship of their child.
28

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 1         306. Paul Silva had a Constitutional right not to be arrested without
 2   probable cause. Murrow and Doe Defendants arrested Paul through the use of
 3   intimidation and coercion.
 4         307. California Civil Code section 43 confers a right to be secure in one’s
 5   bodily integrity from assault and excessive force. By engaging in the acts alleged
 6   above, Defendants denied those rights to Plaintiff, thus giving rise to claims for
 7   damages pursuant to California Civil Code section 52.1.
 8         308. As a direct and proximate result of Defendants’ actions, as alleged
 9   herein, Plaintiff was injured as set forth above and is entitled to damages,
10   including compensatory and punitive damages, in an amount to be proven at trial
11   and in excess of the jurisdictional amount required by this Court.
12         309. As Paul Silva’s successor-in-interest, the Estate is entitled to claim
13
     Paul Silva’s pre-death damages.
14
           310. In conducting himself as alleged herein, DOES were acting within
15
     the course and scope of their employment with Defendants City of San Diego and
16
     County of San Diego. Thus, the City and the County are responsible for Doe
17
     Defendants’ actions.
18
           311. In doing the foregoing wrongful acts, Defendants acted in reckless
19
     and callous disregard for Plaintiffs' constitutional rights. The wrongful acts, and
20
     each of them, were willful, oppressive, fraudulent and malicious, thus warranting
21
22   the imposition of punitive damages against each individual Defendant in an

23   amount adequate to punish the wrongdoers and deter future misconduct.
24                       FOURTEENTH CAUSE OF ACTION
25              (Violation of the Americans With Disability Act of 1990
                                 42 U.S.C. 12101, et seq.)
26    [By the Estate of Paul Silva against the City of San Diego and County of San
27                                        Diego]
28

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 1         312. Plaintiffs reallege all prior paragraphs of this complaint and
 2   incorporates the same herein by this reference.
 3         313. Pursuant to 42 U.S.C. § 12132, “Subject to the provisions of this
 4   title, no qualified individual with a disability shall, by reason of such disability,
 5   be excluded from participation in or be denied the benefits of the services,
 6   programs, or activities of a public entity, or be subjected to discrimination by any
 7   such entity.”
 8         314. Under Title II of the Americans with Disability Act, public entities
 9   are required to make reasonable modifications to avoid discrimination on the
10   basis of disability. The ADA sets an affirmative requirement to act appropriately
11   with respect to prisoners with mental disabilities.
12         315. ADA creates an affirmative duty in some circumstances to provide
13   special, preferred treatment, or “reasonable accommodation.”
14         316. Facially neutral policies may violate the ADA when such policies
15   unduly burden disabled persons, even when such policies are consistently
16   enforced.
17         317. Discrimination includes a defendant's failure to make reasonable
18   accommodations to the needs of a disabled person based on his mental health.
19   These accommodations include training on how to deal with the mentally ill,
20   specialized training of jail staff, heightened level of medical care, and diligent
21   surveillance.
22         318. Defendants failed to make reasonable accommodations to Paul
23   Silva’s medical needs based on his mental health.
24         319. Defendants denied Paul Silva benefits of the services, programs or
25   activities including a transfer to a mental health facility, which is the services,
26   programs or activities they provide.
27         320. The failure to provide critical medical information was a denial of
28   the services program or activity based on his disability.

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 1         321. Defendant San Diego failed to make reasonable accommodations to
 2   Paul Silva’s medical needs based on his mental health. Defendants failed to
 3   provide any treatment for Paul’s schizophrenia. Defendants ignored Paul Silva’s
 4   signs of obvious medical distress.
 5         322. Defendants failed to provide Paul with any access to mental health
 6   programs and services and failed to accommodate his mental disabilities.
 7         323. There was an outright denial of services when Paul was exhibiting
 8   obvious symptoms of medical distress. This demonstrates that Defendants were
 9   discriminating against Paul Silva because of his disability.
10         324. Defendants were deliberately indifferent to Paul Silva’s serious
11   medical condition. Defendants had actual knowledge of the substantial risk of
12   harm to Paul Silva from his serious diagnosed condition and they responded with
13   deliberate indifference by failing to communicate or document his condition;
14   failing to place him in Medical where he could be watched; and failing to provide
15   him medical care when Paul was in medical distress.
16         325. The regulations promulgated by the Department of Justice to
17   implement Part A of Title II of the ADA require each government entity to
18   conduct a self-evaluation of its programs and services (or the lack thereof) related
19   to persons with disabilities:
20                (a) A public entity shall, within one year of the
21                effective date of this part [that is, by January 26, 1993],
22                evaluate its current services, policies, and practices, and
                  the effects thereof, that do not or may not meet the
23                requirements of this part and, to the extent modification
24                of any such services, policies, and practices is required,
                  the public entity shall proceed to make the necessary
25                modifications.
26
                  (b) A public entity shall provide an opportunity to
27
                  interested persons, including individuals with disabilities
28                or organizations representing individuals with

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 1                disabilities, to participate in the self-evaluation process
                  by submitting comments.
 2
 3         326. Defendants failed to conduct any self-evaluation of procedures and
 4   training for its personnel about how to handle encounters with persons who have
 5   mental illness or another disability.
 6         327. Defendants failed to conduct any self-evaluation of procedures and
 7   training for its personnel about how to handle communication with jails regarding
 8   schizophrenia.
 9         328. The Estate of Paul Silva is entitled to a declaratory judgment
10   concerning the City of San Diego and the County of San Diego’s failure to
11   conduct a self-evaluation plan under the Rehabilitation Act and the Americans
12   with Disabilities Act and injunctive relief, requiring it to modify its programs and
13   services to accommodate persons with disabilities.
14         329. Defendants violated Paul Silva’s clearly established rights under the
15   ADA with deliberate indifference.
16         330. The violation of Paul Silva’s rights resulted from a municipal policy
17   or custom adopted or maintained with deliberate indifference.
18         331. As a direct and proximate result of the Defendants’ conduct as herein
19   described, Paul Silva suffered in the amount to be determined at the time of trial.
20         332. Plaintiff is entitled to injunctive and declaratory relief.
21                        FIFTEENTH CAUSE OF ACTION
22              (Violation of the Rehabilitation Act 29 U.S.C. § 794(a))
      [By the Estate of Paul Silva against the City of San Diego and the County of
23
                                       San Diego]
24
25         333. Plaintiffs reallege all prior paragraphs of this complaint and
26   incorporates the same herein by this reference.
27         334. The Rehabilitation Act of 1973 (“Section 504") states in pertinent
28   part, provides that “No otherwise qualified individual with a disability in the


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 1   United States . . . shall, solely by reason of her or his disability, be excluded from
 2   the participation in, be denied the benefits of, or be subjected to discrimination
 3   under any program or activity receiving Federal financial assistance . . .” 29
 4   U.S.C. § 794(a).
 5          335. Defendants the City of San Diego and the County of San Diego are
 6   programs that receive federal financial assistance as defined in 29 U.S.C. §
 7   794(b).
 8          336. Paul Silva was a "qualified individual with a disability" under the
 9   Rehabilitation Act.
10          337. Defendants violated the Rehabilitation Act by failing to make
11   reasonable accommodations to the needs of Paul Silva, a disabled person. It was
12   a reasonable accommodation to transfer a schizophrenic patient to a mental health
13   facility where he could receive necessary services.
14          338. Employees of Defendant City of San Diego were deliberately
15   indifferent to Paul Silva’s serious medical condition. They failed to consider
16   obvious symptoms of Paul Silva’s mental health condition when they transferred
17   Paul to a jail instead of a hospital.
18          339. Defendant City of San Diego failed to communicate critical medical
19   information to the San Diego Central Jail.
20          340. Instead of providing Paul Silva with adequate medical services and
21   fair treatment, Defendants the City of San Diego and the County of San Diego
22   refused to provide him with medical and psychiatric care as his condition
23   deteriorated.
24          341. Defendant the County of San Diego failed to accommodate Paul
25   Silva with the services and programs available to mental health patients. There
26   were services readily available to Paul Silva, which was a placement in a mental
27   health hospital or a unit within the Central Jail where mental health care was
28

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 1   available. Defendant the County of San Diego failed to house Paul Silva in the
 2   PSU, where Paul could be monitored and medicated.
 3          342. Defendants knew of the substantial risk of harm to Paul Silva from
 4   his serious, diagnosed condition and they responded with deliberate indifference
 5   by failing to communicate or document his condition; failing to place him in
 6   Medical where he could be watched; and failing to provide him medical care
 7   when Paul was in medical distress.
 8          343. Defendants violated the Rehabilitation Act by failing to conduct any
 9   self-evaluation of procedures and training for its personnel about how to handle
10   communications with jails regarding patients who have mental illness or another
11   disability.
12          344. Defendants violated the Rehabilitation Act by failing to conduct any
13   self-evaluation of procedures and training for its personnel about how to handle
14   encounters with persons who have mental illness or another disability.
15          345. As a direct and proximate result of the Defendants’ conduct as herein
16   described, Paul Silva suffered in the amount to be determined at the time of trial.
17          346. Plaintiff is entitled to injunctive and declarative relief.
18
19                          WHEREFORE, Plaintiffs pray as follows:
20          1.     For general and special damages according to proof at the time of
21                 trial;
22          2.     For attorneys’ fees and costs of suit and interest incurred herein;
23          3.     For punitive damages;
24          4.     Injunctive and declaratory relief; and
25          5.     Any other relief this court deems just and proper.
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 1                           DEMAND FOR A JURY TRIAL
 2
 3         Pursuant to Rule 38 of the Federal Rues of Civil Procedure and the Seventh
 4   Amendment to the Constitution, Plaintiffs hereby demand a jury trial of this action.
 5
 6
 7                                         Respectfully Submitted,
 8                                         IREDALE AND YOO, APC
 9   Dated: October 2, 2018                s/ Julia Yoo
10                                         JULIA YOO
                                           Attorney for Plaintiffs
11                                         THE ESTATE OF PAUL SILVA by and
12                                         through its successor-in-interest, MANUEL
                                           SILVA, and LESLIE ALLEN
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 JS 44 (Rev. 06/17)   Case 3:18-cv-02282-L-MSBCIVIL
                                               Document 1 Filed
                                                    COVER       10/02/18 PageID.50 Page 50 of 51
                                                            SHEET
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadin&s or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is requrred for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 1rh~ksfJr~JJ1~va by and through its successors-in-interest Leslie                                                           cW:J'~~ereJ~ Shelley Zimmerman, Andrew Murrow, County of
 Allen and Manuel Silva, Manual Silva, and Leslie Allen                                                                      San Diego, William Gore, Alfred Joshua, Liberty Healthcare
                                                                                                                             Corporation, Community Research Foundation, Does 1-100
     (b) County of Residence of First Listed Plaintiff                  _S_a_n_D_ie~g~o______                                   County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                        (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                              THE TRACT OF LAND INVOLVED.

    (C) Attorneys (Firm Name, Address, and Telephone Number)                                                                    Attorneys (If Known)

                                                                                                                                                                                  '18CV2282 MMA KSC
 Iredale and Yoo, APC, 105 West F Street, 4th Floor
 San Diego, CA 92101
 (619) 233-1525

II. BASIS OF JURISDICTION (Placean "X"tnoneBoxOnly)                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" tn One Box for Plaintiff
                                                                                                                          (For Diversity Cases Only)                                                                     and One Box for Defendant)
0 1 U.S. Government                    ~ 3      Federal Question                                                                                           PTF           DEF                                                                        PTF              DEF
       Plaintiff                                  (U,S. Government Not a Party)                                    Citizen of This State                   0    1         0      1      Incorporated or Principal Place                               0 4            0 4
                                                                                                                                                                                          of Business In This State

0 2     U.S. Government                0 4      Diversity                                                          Citizen of Another State                0 2            0      2      Incorporated and Principal Place                              0              0 5
           Defendant                              (Indicate Citizenship ofParties In Item III)                                                                                             of Business In Another State

                                                                                                                                                           0    3         0      3      Foreign Nation                                                0 6            0 6

IV NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                           Click here for: Nature of Suit Code Descnot10ns.
                                                                                                                    ;''FORFEITURE/PENALTY+•:. s:•:t·•••c:.llBANKRURI'<W•••'Jt,t;/,,:•; :;!z'Jl,t·O'llllERS:fA'IlJTES.f•:;h;•I
0   110 Insurance                      PERSONAL INJURY                        PERSONAL INJURY                      0 625 Drug Related Seizure                   0 422 Appeal 28 USC 158                                                        0 375 False Claims Act
0   120 Marine                       0 310 Airplane                         0 365 Personal Injury -                      of Property 21USC881                   0 423 Withdrawal                                                               0 376 Qui Tam (31 USC
0   130 Miller Act                   0 315 Airplane Product                       Product Liability                0 690 Other                                        28 USC 157                                                                     3729(a))
0   140 Negotiable Instrument               Liability                       0 367 Health Care/                                                                                                                                                 0 400 State Reapportionment
0   150 Recovery of Overpayment      0 320 Assaul~ Libel &                        Phannaceutical                                                               "''•"";f::'"'::P""R'"'O'"'P""·E""R'='1¥=,"",RI=G""HTS="".,"'f::o:"'::1f:..t:1:: 0 41 OAntitrust
        & Enforcement of Judgment           Slander                               Personal Injury                                                                 0 820 Copyrights                                                             0 430 Banlcs and Banking
0   151 Medicare Act                 0 330 Federal Employers'                     Product Liability                                                               0 830 Patent                                                                 0 450 Commerce
0   152 Recovery of Defaulted               Liability                       0 368 Asbestos Personal                                                               0 835 Patent -Abbreviated                                                    0 460 Deportation
        Student Loans                0 340 Marine                                 Injury Product                                                                                     New Drug Application                                      0 470 Racketeer Influenced and

                                                                              PERS~~~~tyPROPERTY ~'·~···~=··::;~f;;;:::~:;.;::;I;Ll\BO~·iKi[i!Rt]f;;::.r,::::..··J:~~0~Q~~T!i.r:~~~:§j"mE~~~···Lii]iE~J:~o 480 g~:J~~:~:~~tions
        (Excludes Veterans)          0 345 Marine Product                                                                                                            84
0   153 Recovery of Overpayment             Liability
        of Veteran's Benefits        0 350 Motor Vehicle                    0 370 Other Fraud
                                                                                           0 710 Fair Labor Standards                 0 861 HIA (1395tl)                                                    0                490 Cable/Sat TV
0   160 Stockholders' Suits          0 355 Motor Vehicle                    0 371 Truth in Lending  Act                               0 862 Black Lung (923)                                                0                850 Securities/Commodities/
0   190 Other Contract                     Product Liability                0 380 Other Personal
                                                                                           0 720 Labor/Management                     0 863 DIWC/DIWW (405(g))                                                                   Exchange
0   195 Contract Product Liability   0 360 Other Personal                         Property Damage   Relations                         0 864 SSID Title XVI                                                  0                890 Other Statutory Actions
0   196 Franchise                          Injury                           0 385 Property Damage
                                                                                           0 740 Railway Labor Act                    0 865 RSI (405(g))                                                    0                891 Agricultural Acts
                                     0 362 Personal Injury -                      Product Liability
                                                                                           0 751 Family and Medical                                                                                         0                893 Environmental Matters
                                           Medical Malpractice                                      Leave Act                                                                                               0                895 Freedom of Infonnation
                                                                  iiPRISONERPETl'FIONS, 0 790 Other Labor Litigation               ....f;:
                                                                                                                                        ...                   RAL,...':;T"'AX'""""·""s""u"'rrs~.-f;;;-,1!,j
                                                                                                                                        '.if;;-,;FED""""""E"'.......                                                             Act
0   210 Land Condemnation            ~ 440 Other Civil Rights        Habeas Corpus:       0 791 Employee Retirement                   0 870 Taxes (U.S. Plaintiff                                           0                896 Arbitration
0   220 Foreclosure                  0 441 Voting                 0 463 Alien Detainee             Income Security Act                                or Defendant)                                         0                899 Administrative Procedure
0   230 Rent Lease & Ejectment       0 442 Employment             0 510 Motions to Vacate                                            0 871 IRS-Third Party                                                                       Act/Review or Appeal of
0   240 Torts to Land                0 443 Housing/                     Sentence                                                                      26 USC 7609                                                                Agency Decision
0   245 Tort Product Liability             Accommodations         0 530 General                                                                                                                             0                950 Constitutionality of
0   290 All Other Real Property      0 445 Amer. w/Disabilities - 0 535 Death Penalty     if;:'lij:·;~;:;:t~IMMIGRA'FION' ~·f::x.W                                                                                               State Statutes
                                           Employment                Other:               0 462 Naturalization Application
                                     0 446 Amer. w/Disabilities - 0 540 Mandamus & Other  0 465 Other Immigration
                                           Other                  0 550 Civil Rights               Actions
                                     0 448 Education              0 555 Prison Condition
                                                                  0 560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement

V. ORIGIN (Placean           "X"inOneBoxOnly)
J3: 1   Original          0 2 Removed from                    0     3     Remanded from                    0 4 Reinstated or              0     5 Transferred from                     0 6 Multidistrict                                0 8 Multidistrict
        Proceeding            State Court                                 Appellate Court                      Reopened                            Another District                        Litigation -                                     Litigation -
                                                                                                                                                   (specify)                               Transfer                                        Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI CAUSE OF ACTION 4~ U.S.~ .. 1983 Monell 42 U.S.C.                                                             12101 29 U.S.C.                    794 a
    '                                     Bnef descnpt10n of cause:
                                           False arrest, deliberate indifference to a serious medical need, excessive force wron ful death
VII. REQUESTED IN     0                         CHECK IF THIS IS A CLASS ACTION                                        DEMAND $                                                  CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDERRULE23, F.R.Cv.P.                                                    10,000,000.00                                          JURY DEMAND:         ~Yes       ONo
VIII. RELATED CASE(S)
                                              (See lnstnictlons):
         IF ANY                                                            JUDGE
DATE                                                                           SIGNATURE OF
             JO( 2-
    RECEIPT#                      AMOUNT                                            APPLY                                                                                                          MAG.JUOOE
                  Case 3:18-cv-02282-L-MSB Document 1 Filed 10/02/18 PageID.51 Page 51 of 51
JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county ofresidence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check this box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation-Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.   Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
        numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
